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                 EXHIBIT B-078
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                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STA TE OF GEORGIA                                    FILED IN OFFICE
INRE:                                        )       CASE NO.
SPECIAL PURPOSE GRAND JURY                   )       2022-EX-000024
                                             )


                        NOTICE OF APPEARANCE OF COUNSEL

       Pursuant to Uniform Superior Court Rule 4.2, S. Derek Bauer of the law firm Baker &

Hostetler LLP hereby respectfully enters his appearance as counsel of record for Governor Brian

P. Kemp in this action. Copies of all future pleadings, motions, and other papers and notices

concerning this action should be served on the undersigned at the address set forth below.

       This appearance as counsel is in addition to and not a substitution for present counsel.

       Respectfully submitted this 25th day of August, 2022.

                                             Isl S. Derek Bauer
                                             S. Derek Bauer
                                             Georgia Bar No. 042537
                                             BAKER & HOSTETLER LLP
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                                             Counsel for Governor Brian Kemp
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                  IN THE SUPERIOR COURT OF FULTON COUNTY
                              STATE OF GEORGIA

INRE:                                     )      CASE NO.
SPECIAL PURPOSE GRAND JURY                )      2022-EX-000024
                                          )


                              CERTIFICATE OF SERVICE

       This is to certify that I have filed the foregoing NOTICE OF APPEARANCE OF

COUNSEL with the Clerk of the Superior Court of Fulton County and sent a copy via electronic

mail to:

Nathan J. Wade
Special Prosecutor
Atlanta Judicial Circuit
136 Pryor Street Southwest
Third Floor
Atlanta, Georgia 30303
nathan@thewbcfirm.com

       This 25th day of August, 2022.

                                          Isl S. Derek Bauer
                                          S. Derek Bauer
                                          Georgia Bar No. 042537
                                          BAKER & HOSTETLER LLP
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